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CITY OF MEDINA POLICE DEPARTMENT
Office of the Police Chief
501 Evergreen Point Road, Medina, WA 98039 425.233.6420

www.medina-wa.gov

October 15, 2009

Donna Hanson, City Manager

Jeffrey Chen, Police Chief

EXECUTIVE SUMMARY TO CITY MANAGER

During our recent September 28, 2009 meeting, we discussed ways of improving communication between
our offices. Please accept this memo as an Executive Summary of significant accomplishments achieved
by me and Police Department to date. | hope you find this useful.

Administration and Operations:

The Police Department continues to meet and exceed all the standards required by the Washington
Association of Sheriffs and Police Chiefs (WASPC) to maintain its status as an accredited law enforcement
agency. At the present time we are implementing the recently revised and more comprehensive/stringent
standards now mandated by WASPC for our imminent re-accreditation of the Police Department. We have
begun transitioning our current policy manual into the LEXIPOL format.

Proven benefits of participation in the WASPC accreditation program include:

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Improved morale within the police agency.
Increased credibility with governing body.
Increased pride in the agency.
Systemized self-assessment.

Broadened perspectives.

Intensified administrative and operational effectiveness.

Confidence that recruitment, selection, and promotion processes are fair and equitable.

Strengthened understanding of agency policies and procedures by all police personnel.

Decreased susceptibility to litigation and costly civil court settlements.

. Potential reduction in premiums for liability insurance.
. Greater public confidence in the agency.

. State and local acknowledgment of professional competence.
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In concert with my regular duties, | represent the Medina Police Department on a number of intelligence,
public safety and academic boards and associations important to our organizational and public safety
responsibilities to include:

1. Vice Chair for the King County Emergency Management Advisory Council (EMAC) in 2010 and
in-coming Chair for 2011.

2. Chair of the Homeland Security Law Enforcement Terrorism Prevention Program (LETPP)

committee for the King County Chiefs’ Association.

Member of the Board, Washington State Behind the Badge Foundation

Policy Board Member, King County Region 6 Incident Management Team (IMT) Working Group

Member, Coalition of Smail City Police Agencies (CSPA) in King County

Member, International Association of Chiefs of Police (IACP)

Member, Federal Bureau of Investigations (FBI) National Academy Associates

Member, King County Police Chiefs Association (KCPCA)

Member, Rotary Club of Bellevue

10. Member, Northwest Police Accreditation Coalition (NWPAC)

11. Board of Director, Eastside Domestic Violence Program (EDVP)

OONAAH Ww

In 2009, the Medina Police Department coordinated the local law enforcement response in support of an
international dignitary visit by the President of Zimbabwe into our jurisdiction. Additionally we have had
several U.S. Presidential and gubematorial hopefuls for upcoming elections attend large events locally. |
also supervised the Chief Executive Officer (CEO) summit of the world’s most prominent businesses
gathering at a local resident's home. In each instance, when applicable, | also recovered reimbursable
costs to the city.

During 2009, the Police Department continued our work in a solid False Alarm Reduction Program,
including training/educational classes for residents, and fines for excessive alarms. This year, there has
been an increase in false alarms from 204 in 2008 to 272 to date in 2009.

This year, once the Public Safety Enhanced Camera System was put in place, | oversaw the integration of
software, hardware and functional operation of the camera system. | also drafted policies that are currently
under review by the city attorney's office. This initiative has proven to be very complex and labor intensive.

This year, in addition to attending operational meetings, | have overseen the transition of our dispatch
communications from Kirkland to NORCOM. This has also proven to be very complex and labor intensive.

As incident commander, | personally led the police department's response during a major snow and
windstorm in late 2008 and early 2009. Both major events were handled professionally to the satisfaction of
the community.

Training accomplishments:

To enhance our recruitment visibility, the Medina Police Department has worked with student intems in the
Society and Justice Program, University of Washington and the Criminal Justice Program, Bellevue
Community College, to provide first-hand experiences in municipal law enforcement.

The Medina Police Department continues to meet or exceed the mandatory training requirements of 24
hours each year per officer as set by Revised Code of Washington (RCW) and Washington Administrative
Code (WAC).

| was featured again as an instructor/facilitator in the Criminal Justice Training Commission’s internet class

on “Eliminating Bias from Policing,” a mandatory course of instruction for all departments and their
respective officers in the State of Washington.

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The Medina Police Department participated in 2 regional functional tabletop exercises for emergency
preparedness. The Mobile Communications Center (MCC) was deployed in every exercise as the
command post and field base of operations. Additionally | continue to regularly participate in on the air roll
calls and confidence testing of our in city VHF radio system with citizen volunteers.

Outreach accomplishmenis:

e The community awareness program, E-LERT® an email system for the timely dissemination of public
safety information to interested residents continues to be our most popular service. This program is the
first of its kind in the nation and has served as a model for other programs throughout the country. The
name E-LERT @ is a registered Trademark of the City of Medina Police Department. To date, | have
issued 21 E-lerts. Currently there are 1112 subscribers. | also have created a Medina Police
Department Facebook page to further enhance our outreach to the public. We have over 50 people
signed up on that medium.

e |developed a Medina Volunteers in Police Service (VIPS) program and curriculum intended on
increasing public safety and citizen participation in emergency preparedness. This is fast becoming one
of the most popular Police Department programs in partnership with our citizens. We currently have over
60 citizens signed up as volunteers. Three training class have already been delivered this year.

e [hosted a number of regional monthly meetings for Washington State Law Enforcement Officers
Memorial, Eastside Chiefs, Coalition of Small Police Agencies, LETPP working group and numerous
community meetings.

e This year, the Medina Police Department Mobile Communications Center (MCC) has been requested
and deployed under my leadership by other local police agencies in support of their emergencies on 6
occasions.

Criminal Activity and Investigations for Medina and Hunts Point:

To date, our officers responded to nearly 4000 calls for service in Medina and Hunts Point. We have filed 42 felony
and 63 misdemeanor cases in Medina and no felony and 14 misdemeanor cases in Hunts Point. A true success this
year is the capture of 3 residential burglars who were literally caught in the act by responding officers. We were able
to file charges in all but two of those cases resulting in a 75% exceptional arrest rate despite the lack of a full
time investigative unit.

The Town of Hunts Point continues to enjoy a relatively crime free year. There were no residential burglaries
that occurred thus extending this crime free streak to over 49 months. We continue to attribute this success as
a result of the town’s surveillance cameras, our close working relationship with the Town, our responsive police
services and community outreach programs for crime prevention.

In 2009 the Medina Police Department responded to 38 independent citizen complaints of speeding within our
jurisdiction. The MPD provided overt and covert traffic emphasis in marked, unmarked and bicycle units in
addition to the placement of the speed radar trailer and an unmanned patrol vehicle in an effort to calm traffic
speeds. We also worked diligently with our Public Works Engineer to identify environmental design options
(CPTED).

Recruitment Accomplishments:

As part of its growing reputation as a highly professional, well trained and community-oriented police
agency, the Medina Police Department has attracted three new officers, two of which are about to graduate
from the police academy very soon. This has rounded out our police department and brought us up to a full
complement.

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Grant Funding Accomplishments:

During this year | applied for and received approximately $25,000 in federal and state grants for
equipment, personnel and training. One of the grants was from a CTED grant for $9,999 that will be
used to enhance our public safety camera system. This brings the total amounts of such grants secured
by me in the past five years to over $700,000. Mobile Emergency Communications Center - Secured an
additional $2,516 — through a Law Enforcement Terrorism Prevention federal grant for additional
interoperable communications equipment for our mobile emergency communications center.

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CITY OF MEDINA POLICE DEPARTMENT
Office of the Police Chief
501 Evergreen Point Road, Medina, WA 98039 425.233.6420

www.medina-wa.gov

DATE: December 31, 2008

TO: Donna Hanson, City Manager

FROM: Jeffrey Chen, Police Chief

RE: 2009 POLICE DEPARTMENT GOALS

MISSION:

The Medina Police Department is Committed to Providing Service that Exceeds Expectations.
VISION:

Our Police Department is committed to providing excellence in public service to our community.

CHALLENGES FACING PUBLIC SAFETY:

Tremendous growth of nearby downtown Bellevue. This will have both +/- impacts to our community.
Increased traffic and crime are predicted.

Installation of the enhanced public safety camera system

Emergency Preparedness efforts through citizen assistance. (Emerg Prep committee, CERT, VIPS)
Recruitment and retention issues that negatively impact staffing levels.

NORCOM transition

Continued PDA requests that over tax/burden our personnel. (especially the targeted complaints against
individuals)

Increased jail costs and looming JAG/JOG issues

Continue to provide exceptional service to contract Town of Hunts Point

GOALS AND OPERATIONAL OBJECTIVES:

To ensure proper E-911 response capabilities for citizens are present.

Maintain competent crime detection and investigative expertise.

Contribute toward community awareness and education.

To continue mentoring and empowering staff for growth and development for transition of power.

To cultivate public/private partnerships that will help fortify and increase public safety.

To continue to strive toward meeting our Police Department mission, vision and teamwork standards.
To move closer towards the renovation of the Medina Police Department facility.

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To meet and gain re-accreditation status with WASPC.
Address citizen traffic concerns by reducing traffic speed in our neighborhoods.
Maintain the feeling of a high level of safety and security.

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CITY OF MEDINA POLICE DEPARTMENT
Office of the Police Chief
501 Evergreen Point Road, Medina, WA 98039 425.233.6420

www.medina-wa.gov

February 18, 2010

Donna Hanson, City Manager

Jeffrey Chen, Police Chief

Impact to Police operations related to impending facility move

As we progress closer to the impending vacation of the current city hall location to temporary facilities still to be
determined, here are some prominent issues that would impact police services to the citizens and require some
consideration:

L

State Accredited Police Agency - We need a temporary site that has adequate security measures, both
physical and technological. By department policy, we must be able to safeguard to accreditation
standards our facility, evidence locker, weapons, law enforcement sensitive records, police cars and
other miscellaneous equipment. We need to maintain strict chain of custody measures for court cases.
If we do not, pending criminal cases could be jeopardized. For example, we must routinely check if our
weapons are loaded or not and need a safe backdrop to perform safe manipulation of the weapons.
However small, there is always a risk for an accidental discharge and a .223 rifle round can travel a
great distance and cause damage if backdrop is not considered. The police department's accreditation
status could be revoked if we are found in non-compliance with our policies.

Response time and easy access to police services by the public/victims — Our public safety services and
response should not reside outside of our jurisdiction. This is not only a safety issue for the citizens but a
public perception one.

Technological requirements — Among our multiple police systems that require segregation from other
routine city systems, we need fiber to maintain our secure encrypted point to point connection with
Kirkland PD. We need a secure facility with the commensurate power and fiber/cable hookups for our
servers, Clear wire, antennas, camera system and network.

Supervision of Lifeguard program — the police department manages this seasonal program from the
recruitment to the daily operations. If the city decides to keep the beach open as an amenity for the
community to enjoy this summer and wants it staffed with lifeguards, | would suggest our proximity to the
beach be an important consideration.
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MEDINA POLICE DEPARTMENT

Memorandum

DATE: October 28, 2010

TO: File

FROM: Jeffrey Chen, Police Chief

SUBJECT: DON EAGON COMMENT

On 10/25/10 at approximately 12:15 hours, Sergeant John Kane met me roadside in the 7900
block of Overlake Drive West while we were preparing for the arrival of the FLOTUS.

Sergeant Kane informed me he had just (within the hour) had conversation/interaction with IT
consultant Don Eagon and was disturbed to hear that Craig Fischer had confided in Don that he
had been monitoring e-mails between the Mayor and City Manager as Craig was concerned for
the stability and future of his job. Sergeant Kane further went on to mention that Don Eagon was
having such personal conflict over knowing this disclosure from Craig that he consulted with his
personal attorney who recommended he bring it forward to superiors in the city.

I later learned from Officer Emmet Knott that Don Eagon had also informed him of the same
information. Officer Knott stated he heard from Don Eagon that Rachel Baker said the e-mails
were subject to public disclosure and that it wasn’t a big deal.

After the 10AM 10/26/10 staff meeting, I brought this information forward to City Manager
Donna Hanson in her office. Donna stated she is aware of the issue and the matter is being fully
investigated and the city attorney has been advised. Donna then asked Rachel Baker to come into
her office with us. Donna asked Rachel if Don had told her of his disclosure to others, namely in
the police department. Rachel stated she did not know Don had told others and appeared shocked
by this. I closed by stating I just wanted to make sure Donna was aware that officers in the PD
were aware.

END OF MEETING.
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CITY OF MEDINA POLICE DEPARTMENT
Office of the Police Chief
501 Evergreen Point Road, Medina, WA 98039 425.233.6420

www.medina-wa.gov

March 7, 2007

Mayor and City Council

Jeffrey Chen, Police Chief

Enhanced Public Safety System (EPSS)

PUBLIC SAFETY SYSTEM STATUS UPDATE

BACKGROUND:

At the January 8, 2007 City Council meeting, the Police Department was asked to re-examine the
feasibility of creating an Enhanced Public Safety System (EPSS) that could be strategically
placed and exclusively controlled and monitored by the Medina Police Department for the limited
and specific purpose of increasing the level of safety and security for the citizens of Medina. It is
also worthy to note this initiative would act as a force multiplier for the Police Department without
the need to increase personnel/full time equivalents (FTE’s) in order to manage and operate the
system.

During the February 12, 2007 city council meeting, further direction was given by the council
majority as excerpted from the Feb 12” meeting minutes;

The council expressed support for a budget amendment at the appropriate time and requested a
future presentation identifying two levels of implementation and associated costs for council's
review during May. Council requested to be provided with regular updates prior to May.

JUSTIFICATION:

e In September 2005, the Town of Hunts Point, decided to put in place a closed circuit
camera system in response to concerns about public safety. Their single location camera
system is monitored by the Medina Police Department. Compared to 2005 crime
statistics, the Town of Hunts Point’s 2006 felony crime rate dropped over 125% and
overall crime rate dropped 20%, just after their camera system and signage. The cost of
one single location for the Town of Hunts Point public safety camera system was
$75,000. The significant drop in the overall Hunts Point’s crime rate has been so evident
(eight felony crimes in 2006 compared to nineteen in 2005), these numbers rival their all
time lows observed back in 1993.

e The City of Medina experienced an increase in vehicle prowling activity from 40 in 2006
versus 19 in 2005, a 100 percent increase. This has precipitated the Medina City Council
to request a second look at this initiative for Medina. The number of car prowls in 2006
would have likely been reduced by having an EPSS with plate recognition.

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e Construction related activity and issues in the city of Medina is a daily occurrence. With
these projects brings a volume of activity, unknown vehicles and working population that
continually moves in and out of our community. This surge of cars and people increases
the potential for speeding and parking concems negatively impacting our residents.

e specially during the warmer months of the year, with this system, the police department
will have better means to monitor increased summer traffic to our local parks and beach
from either a central location or from a mobile unit.

e With infrared cameras, this can create more local night watch capabilities for our night
time police officer(s) and also increase officer safety which will ultimately reduce our city's
liability.

e When disaster strikes, we can monitor our entire jurisdiction from multiple mobile
locations so as to enhance our emergency preparedness. (i.e. most recent windstorm
causing power outage and street blockages by fallen trees.)

e With the on-going difficulty in attracting and retaining qualified police officers nationwide,
the use of technology helps off set any shortages of manpower that a city might
encounter.

POSSIBLE LOCATIONS “prioritized”:

Staff has previously identified fourteen strategic minimal locations for street (does not address
waterfront) coverage in Medina where closed circuit cameras could be a cost effective and viable
option in increasing the public’s safety. The following locations are examples in prioritized order:

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NE 12°/84" Avenue NE (this intersection will need to be examined closely as there are
actually three ways into Medina, NE 12", 84" Avenue NE and 82™ Avenue NE.)

NE 24"/84" Avenue NE

Overlake Drive East/Lake Washington Blvd

NE 10"/Lake Washington Blvd

E/B 520 to S/B 84" Ave

84" Avenue NE and 82™ Avenue NE

Groat Point/Overlake Dr. W (two directions at comer)

Park and Ride Lot on Evergreen Point Road (three directions N,S and cover Park n Ride lot)
NE 24"/Evergreen (three directions N,S,E)

. NE 12"/Evergreen (three directions N,S,E)

. NE 8"/Evergreen (3 directions N,S,E)

. Overlake Drive West/Evergreen (three directions N,S,E)

. Overlake Drive West/84" Avenue NE (all directions N,S,E,W)
. Medina Circle entrance.

“OPERATIONAL” SYSTEM REQUIREMENTS:

. The Medina Police Department requires a fixed camera based license plate recognition

system improving officer safety and effectiveness.

Using cameras mounted on municipal infrastructure, the system wili scan the surrounding
area for license plates, and capture color images of each vehicle, as well as an infrared
image of the plate.

The plate will be converted into a text file that is then checked against databases of
interest (RAIN, LINX, WASIC, DOL and Private Databases) for stolen vehicles, wanted
felons, AMBER alerts, etc.

In the event of a “match”, an audible and visual alert notifies the officer, office or
dispatcher.

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Integration with Google maps will pin-point the location of the “match” and display “match”

information on remote office desktops or vehicle mounted mobile laptops.

6. Scanned and stored data must be available for data mining and intelligence purposes.

7. Provides high volume license plate capture and accurate license plate recognition for vehicles
moving at speeds up to 160 mph

8. Provides significant officer productivity improvements as compared to traditional manual
license plate searches

9. Capable of interfacing with private as well as, local state and federal databases

10. System will be capable of keeping close watch for public safety, in addition to ALPR

“TECHNICAL” SYSTEM REQUIREMENTS:

1.Dual channel camera (with integrated infrared and color)

2.Camera and processor integrated into a single housing unit

3.Variable infrared camera settings to obtain highest confidence plate read

4.Rugged weatherproof enclosure sealed to IP67 Standards

5.Internal real-time video self-triggering

6.External trigger input support

7.TCP / IP Ethernet with socket and FTP protocols, relay output, RS232, true IP connectivity over
GPRS / GSM, 802.11, and 802.16

8.Standard software MPEG4 compression

9.Ability to send SMS text messages on database hits or events

10. Optional compact flash storage of up to 6GB

11. Low power operation (12-18V)

12. Battery power capability

13. Fully web-enabled, IP-addressable device

14. Provide 128 to 256-hardware encryption and FIPS 140-2 capability

15. Operation in total darkness, bright sunlight, or adverse weather conditions

COST ESTIMATE:

Costs associated with constructing a usable and robust public safety system are estimated and
reliant on a number of factors to include number of cameras, quality of the system, infrared
capability, data storage, wireless or fiber, use of light poles, availability of power at light poles,
capital, operations, maintenance and replacement costs. Superficial discussions with vendors
suppose costs to include designing, engineering and equipment acquisition to complete phases 1
— 3 would be around $450,000. To address Phase 4 and/or 5 would bring the total costs to
complete this project to $550,000.

Phase 1 — Complete planning, engineering and pilot phase of the project.

Phase 2 - Complete construction for six locations previously identified in priority order.

Phase 3 — Build out the remaining locations to the same specifications as in Phase 2.

Phase 4 — Equip all cruisers with the mobile license plate recognition system to cover the
locations where fixed cameras are not installed

Phase 5 — at our high traffic intersections, we can integrate speed radar monitoring signs that will
help reduce speeders. i.e. 83° NE speed sign.

FUNDING OPTIONS:

The City could pursue a number of different options in an effort to fund or defray costs associated
with implementing this Public Safety System to include:

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Seek and pursue grant funding streams.

if citizens are willing to donate, accept citizen donation.

Seek a mid-year budget amendment to fund this project

Re-prioritize and/or re-allocate existing funding from 2007 budget.

Fund this project through a combination of all of the above

If funding is limited, the Public Safety System could be built out in phases where cameras
would be first placed at the major intersections. Other locations could be added at a later date
as funding comes available.

STAFF RECOMMENDED COURSE OF ACTION:

Create a citizen review group to work with the Chief on this project

Document Medina requirements for an ALPR System

Complete a technology review of 1-2 other ALPR products

Request and check references for Platescan and Other potential ALPR systems
Visit a municipality with a working ALPR system, for a demonstration and discussion of the
technology and implementation best practices

Talk with additional ALPR users regarding the technology and best practices
Utilize a notice to proceed process to set project goals and accountability
Validate compatibility of systems to local, regional and federal database systems
. Develop project schedule

10. Complete a site survey at proposed locations to identify available infrastructure
11. Develop and refine a critical list of the bill of materials

12. Develop architectural and/or one-line cad design

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SUMMARY

The Enhanced Public Safety System (EPSS) will maximize our Police Department's ability to
protect and effectively service the community. The result will be an increase in the citizen’s
security and their homes. With the planned minimal system installed, we can maximize the
quality of living for all residents.

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MEDINA POLICE DEPARTMENT

Memorandum

DATE: December 29, 2008

TO: Donna Hanson, City Manager
FROM: Jeffrey Chen, Police Chief

SUBJECT: Police Chief Emergency Pay

During the month of December, 2006 the Medina Police Department experienced an unusual
shortage of personnel. In addition to the personnel shortage, the city suffered a week long
emergency period due to several snow storms with heavy accumulations and the police
department was responsible for investigating a complex theft case that received broad media
attention.

Due to this unusual circumstance, I met with you on to seek authorization to work extra shift duty
in addition to my other regularly assigned police chief duties. You approved me to work the
additional overtime for overtime compensation.

The hours submitted in the attached overtime forms represents the extra hours worked during the

theft investigation and the snow storm emergency time frame.
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